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            EXHIBIT 1
   An official website of the United States government
   Here's how you know  Case 2:19-cv-02553-JMY           Document 35-3 Filed 07/25/22 Page 2 of 9


                                                                                                           Menu




Aetna Medicare

SilverScript Plus (PDP)
Plan type: Drug plan (Part D)
Plan ID: S5601-013-0
Plan website     Non-members: 1-833-526-2445                 Members: 1-866-235-5660



What you'll pay
Total monthly premium                                              Retail pharmacy: 2022 estimated total drug costs

$73.30                                                             $36,152.53
                                                                   Covers 1 of 2 drugs




Overview

PREMIUMS



   Total monthly premium                                           $73.30



DEDUCTIBLES

The amount you must pay each year before your plan starts to pay for covered services or drugs.



   Drug deductible                                                 $0.00
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CONTACT INFORMATION



  Plan address                                  P.O. Box 30016
                                                Pittsburgh, PA 15222
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Drug Coverage


See if there's help to lower costs for drugs you take.


PHARMACIES

See the cost level to fill your drugs at the pharmacies you chose. You can also change pharmacies to see the
cost level of other pharmacies in your area to find the lowest cost pharmacy.




                                                   Preferred   Preferred in-network pharmacy
   CVS PHARMACY #10526



YEARLY DRUG COSTS BY PHARMACY

Drug costs shown vary based on the plan and pharmacy that you use. Contact the plan if you have specific
questions about drug costs. Can my drug costs change by pharmacy?



                                                 CVS Pharmacy #10526
                                                   Preferred   Preferred in-network pharmacy




   Copaxone 20mg/ml solution
   prefilled syringe                             $4,337.73




   Glatiramer acetate 20mg/ml
                                                 $31,814.81
   solution prefilled syringe



   Total yearly drug cost                        $36,152.53
              Case
ESTIMATED TOTAL    2:19-cv-02553-JMY
                DRUG  + PREMIUM COST Document 35-3 Filed 07/25/22 Page 5 of 9



                                              CVS Pharmacy #10526
                                               Preferred Preferred in-network pharmacy




   Total yearly drug + premium cost           $36,519.03



   When you'll enter the
                                              August 2022
   coverage gap



   When you'll get out of the
                                              September 2022
   coverage gap



ESTIMATED TOTAL MONTHLY DRUG COST



                                              CVS Pharmacy #10526
                                               Preferred Preferred in-network pharmacy




   August                                     $8,638.24



   September                                  $7,272.87



   October                                    $6,747.14



   November                                   $6,747.14



   December                                   $6,747.14



ESTIMATED DRUG COSTS DURING COVERAGE PHASES

The drug prices shown may vary based on the plan and pharmacy you've selected. Contact the plan if you have
specific questions about drug costs.
Learn more about coverage phases.
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   CVS PHARMACY #10526



                                                                                                   Cost
                                                                                       Cost in
                                               Retail             Cost after                       after
                                                                                       coverage
                                               cost               deductible                       coverage
                                                                                       gap
                                                                                                   gap



   Copaxone 20mg/ml solution
                                               $7,683.52          $2,535.56            $1,920.88   $384.18
   prefilled syringe



   Glatiramer acetate 20mg/ml
                                               $6,362.96          $6,362.96            $6,362.96   $6,362.96
   solution prefilled syringe [ 1 ]



   Monthly totals                              $14,046.48         $8,898.52            $8,283.84   $6,747.14



   [1]
         This plan does not cover this drug, the price shown is the full cash price.




COSTS BY DRUG TIER

Plans group their drug lists into tiers. The drug costs below show how much you'll pay for drugs in each tier
based on the coverage phase you're in.

Learn more about drug tiers.
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                        Initial coverage    Gap coverage           Catastrophic coverage
                                                  [1]
                        phase               phase                  phase



                                                                          Generic drugs:
                                                                          $3.95 copay or 5% (whichever
Preferred                                                                 costs more)
                         $0.00 copay             $0.00 copay
Generic
                                                                          Brand-name drugs:
                                                                          $9.85 copay or 5% (whichever
                                                                          costs more)



                                                                          Generic drugs:
                                                                          $3.95 copay or 5% (whichever
                                                                          costs more)
Generic                  $2.00 copay             $2.00 copay
                                                                          Brand-name drugs:
                                                                          $9.85 copay or 5% (whichever
                                                                          costs more)



                                                                          Generic drugs:
                                                                          $3.95 copay or 5% (whichever
                                                                          costs more)
Preferred
                         $47.00 copay            —
Brand
                                                                          Brand-name drugs:
                                                                          $9.85 copay or 5% (whichever
                                                                          costs more)



                                                                          Generic drugs:
                                                                          $3.95 copay or 5% (whichever
                                                                          costs more)
Non-Preferred
                         50%                     —
Drug                                                                      Brand-name drugs:
                                                                          $9.85 copay or 5% (whichever
                                                                          costs more)




[1]   For all other drugs, you pay 25% for generic drugs and 25% for brand-name drugs.
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                          Initial coverage    Gap coverage           Catastrophic coverage
                                                    [1]
                          phase               phase                  phase



                                                                            Generic drugs:
                                                                            $3.95 copay or 5% (whichever
                                                                            costs more)




  Specialty Tier           33%                       —




                                                                            Brand-name drugs:
                                                                            $9.85 copay or 5% (whichever
                                                                            costs more)



  [1]   For all other drugs, you pay 25% for generic drugs and 25% for brand-name drugs.



OTHER DRUG INFORMATION



                                                            Prior                 Quantity       Step
                                              Tier
                                                            authorization         limits         therapy



  Copaxone 20mg/ml solution
                                              Tier 5        Yes                   Yes            —
  prefilled syringe



  Glatiramer acetate 20mg/ml                  Not
                                                            —                     —              —
  solution prefilled syringe                  covered
MY DRUG LIST        Case 2:19-cv-02553-JMY Document 35-3 Filed 07/25/22 Page 9 of 9



                                     Package               Quantity          Frequency          Brand/Generic



   Copaxone 20mg/ml                  1ml syringe
                                                                             Every
   solution prefilled                (sold in pack         1                                    Brand
                                                                             month
   syringe                           of 30)



   Glatiramer acetate                1ml syringe
                                                                             Every
   20mg/ml solution                  (sold in pack         1                                    Generic
                                                                             month
   prefilled syringe                 of 30)



PART B DRUGS

These are drugs you usually get at a doctor's office or hospital outpatient setting, like the flu shot,
chemotherapy, or other shots.



   Chemotherapy drugs                     Not covered



   Other Part B drugs                     Not covered




Star ratings
  Expand All Ratings



  Overall star rating

  Overall rating is based on the categories below.


     Drug plan star rating


  Summary rating of drug plan quality
